Case 2:05-cr-20240-SHL Document 20 Filed 06/27/05 Page 1 of 2 Page|D 4

 

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IN THE UNITED sTATEs DISTRICT count " %m"
FoR THE WESTERN DISTRJCT 0F TENNESSEE 05 JUN 2 7 AH IU‘
WESTERN DIvIsIoN ' '6
o s hist cr

UNITED STATES OF AMERICA

V.

TREMAINE G. WILBOURN 05cr20240-1-D

 

ORDER ON ARRAIGNMENT

/`

This cause came to be heard on l:%/[¢ ,¢ l §§ B§ the United States Attorney
for this district appeared on behalf of the vernrnent, and the defendant appeared in person and with

counsel:

»-

NAM 1 ¢ who is Retained/Appointed.
/""__"~

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

The defendant, Who is not in custody, may stand on his present bond.

I/'The defendant, (not hawade bond) (bein ate prisoner) (being a federal
prisoner) (being held Without bond pursuant to BRA of 1984), is remanded to the custody

Of the U.S. MaI'Shal. M

UNITED STATES MAGISTRATE ]UDGE

CHARGES - 18 USC 2113
BANK ROBBERY BY FORCE OR VIOLENCE

Attorney assigned to Case: T. Arvin
Age: / ?

Thls document entered on the docket sheet in compliance
warn ama as and/or sz(b} Facrp on ~ 10

   

  

UNITED SrAer DSTRIC COURT - ESTERN DISTRICT 0 TNNESSEE

 
 

Notice of Distribution

This notice confirms a copy of the document docketed as number 20 in
case 2:05-CR-20240 Was distributed by faX, mail, or direct printing on
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J Patten Brown

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Honorable Bernice Donald
US DISTRICT COURT

